                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  3:04 CR 252

UNITED STATES OF AMERICA            )
                                    )
      v.                            )                       ORDER
                                    )
LANDIS RICHARDSON,                  )
                                    )
                  Defendant.        )
____________________________________)


       THIS MATTER comes before the Court on its own motion. Having completed the trial

of Defendant Landis Richardson, the undersigned hereby transfers this case back to Judge

Conrad for further proceedings as to Defendant Phillip Ductan, as well as for any future

proceedings, including the sentencing, of Landis Richardson.

       IT IS SO ORDERED.



                                                    Signed: May 3, 2006




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